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6                              UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
8                                                ***
9      UNITED STATES OF AMERICA,                      Case No. 2:12-cr-00082-MMD-VCF
10                                       Plaintiff,                   ORDER
11           v.                                         Def’s Mtn. for Due Process in Closing
                                                              Argument – dkt. no. 289)
12     VANESSA RUIZ,
13                                   Defendants.
14

15           Before the Court is Defendant’s Motion for Due Process in Closing Argument

16     (dkt. no. 289). Defendant brought the motion to inform the Court of her “position” that

17     she opposes any “reserved” argument by the government. Defendant appears to seek

18     a preliminary blanket ruling from the Court directing the government not to reserve any

19     arguments for rebuttal as part of its closing argument. Defendant’s Motion is premature

20     and is therefore DENIED.

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22           DATED THIS 18th day of March 2013.

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24                                                      MIRANDA M. DU
                                                        UNITED STATES DISTRICT JUDGE
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